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                     SENTENCING LETTER INDEX
Exhibit No.          Author                      Relationship
1-1           Simon Huizar          Son
1-2           Isabella Huizar       Daughter
1-3           Emilia Huizar         Daughter
1-4           Gloria Galvan         Sister
1-5           Yolanda Huizar        Sister
1-6           Isidra Huizar         Mother
1-7           Monica Garcia         Former LAUSD Board President
1-7a          Father Greg Boyle     Founder of Homeboy Industries
1-8           Father Theodore       Boyle Heights constituent / Dolores
              Gabrielli SJ          Mission
1-9           Margarita Amador      Boyle Heights constituent/Volunteer with
                                    LAPD / Mediator with Los Angeles City
                                    Attorney’s Dispute Resolution Program /
                                    First Responder with Los Angeles
                                    Mayor’s Crisis Response Team
1-10          Raymond Rios          Boyle Heights constituent, in CD14 for
                                    64 years
1-11          Caridad Vazquez       Boyle Heights constituent/Street Vendor
                                    Leader
1-12          Antonio Garcia        Boyle Heights constituent for 51 years
1-13          Angela Gutierrez      Boyle Heights constituent
1-14          Yolanda Rodriguez     Boyle Heights constituent / LAUSD
                                    Employee
1-15          Susana Betancourt     Boyle Heights constituent / Retired
                                    LAUSD teacher / Boyle Heights
                                    Neighborhood / Business Watch
                                    Coordinator / Hollenbeck Div. Advisory
                                    Board Member
1-16          John Goldfarb         Eagle Rock constituent / Eagle Rock
                                    Neighborhood Council / Huizar
                                    Campaign Volunteer Spring 2015
1-17          Michael Nogueira      Eagle Rock constituent / President of
                                    Eagle Rock Chamber of Commerce
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1-18          Therese Hernandez   El Sereno constituents
              Cano & Jose A. Cano
1-19          Jackie Carrillo     El Sereno constituent / LAUSD School
                                  Climate Advocate
1-20          Yolanda Nogueira    Highland Park constituent / President of
                                  Highland Park Chamber of Commerce
1-21          Trisha Gossett      Highland Park constituent / Former
                                  member of Highland Park Neighborhood
                                  Council / former member of Land Use
                                  Committee
1-22          Ofelia R. Pastor    Highland Park constituent / Leader of San
                                  Pascual Ave. Neighborhood Watch
1-23          Carl Matthes        President of Uptown Gay and Lesbian
                                  Alliance
1-24          Betsy K. Starman    DTLA constituent / Volunteer on Skid
                                  Row
1-25          Masamichi Kiyomiya Employer during high school / Owner of
                                  Family Mart
1-26          Alberto Arteaga     Lifelong Friend from Salesian High
                                  School
1-27          Algernol Boozer MA, Lifelong Friend from Salesian High
              MSW                 School and UC Berkeley
1-28          Adam L. Acosta      Friend / Former Deputy Policy Advisor to
                                  Jose Huizar / Former Political Director
                                  for American Federation of State, County
                                  Municipal Employees
1-29          James W. Kee        Brother-in-law
1-30          Martin Arteaga      Lifelong Friend from Salesian High
                                  School
1-31          Mauro Arteaga       Lifelong Friend from Salesian High
                                  School / Deputy Executive Officer Los
                                  Angeles County Metropolitan
                                  Transportation Authority
1-32          Sergio S. Diaz      Family Friend and Boyle Heights
                                  constituent
1-33          Father Vince Cotter Salesian High School Religion Teacher
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1-34          Arturo Rodarte         Family Friend
              Miranda
1-35          Mark Raffield          Lifelong Friend from UC Berkeley
1-36          Alonso Silva, Jr.      Friend, Salesian High School Alumnus
1-37          Baldomero Huizar       Cousin
1-38          Efrain & Claudia       Cousins of Jose Huizar
              Huizar
1-39          Maura Morales          Niece
1-40          Porfirio Serrano       Uncle
1-41          Max Banuelos, Jr.      Cousin
1-42          Maximiliano            Uncle
              Banuelos
1-43          Mario Barrios          Cousin
1-44          Hilda Figueroa         Cousin
1-45          Evelia & Elpidio       Cousins of Jose Huizar
              Huizar
1-46          Jose Manuel Larez      Brother-in-law
1-47          Belia & Ben Martinez   Cousins of Jose Huizar
1-48          Rosa Minero            Nanny / Housekeeper
1-49          Manuel Miranda         Family Friend
1-50          Norma Montero          Cousin
1-51          Karely Carrillo        Cousin-in-law
              Roman
1-52          Maria Guadalupe        Aunt
              Serrano
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December 15, 2023

Dear Honorable John F. Walter,

I have known by brother Jose Huizar his entire life. As his older sister there is a long story to tell;
growing up we were both very competitive in school, I was one year ahead of him and shared
some of the same teachers and during parent conference the teachers would report to our
parents who would was ahead in grades. From a young age I witnessed my brother’s passion for
the love of learning and inspired to help others. We grew up in a very humble 900 square feet
home, there were 6 children and both parents. The 4 brothers shared sleeping quarters in the
basement and the 2 girls shared one bedroom.

Our house was tiny, and we ate almost the same food each day, my father did most of the
grocery shopping and cooking. He made sure there was always a 5 lb bag of beans and rice in
the kitchen. Our parents earned minimum wage and somehow raised 6 children. I witness my
parents always working, in very difficult back breaking, labor intense jobs. They would leave for
work very early and did not see us in the morning. They trusted and relied on us kids to get
ourselves ready and find our way to school. Our oldest sister was the mother figure when our
parents were not home. We each walked to and from our respective schools.

We grew up in a dangerous neighborhood, our home is located across the street from the 4th
street bridge that is surrounded by different gangs. There were always gang fights, drug sales
and drug users in our neighborhood. Despite the dangerous conditions we lived in, our parents
provided the love and support each of us. The love and support included much discipline, our
father was very strict and drank every day. Our mother was hard working in the fields and
factories and oversaw the household decisions. When we moved to the United States, we lived
with my uncle, fathers’ brother, the house was so crowded my mother insisted we move so we
did. The only house my father could afford was a rundown, tear down small house in Boyle
Heights. To my father he was providing a roof over our head even if it leaked. It was very
difficult for my parents to assimilate due to language and social class, nonetheless, thanks to
God and goodwill of our aunts and uncles who guided my parents. From a very young age our
parents instilled in us the importance of an education and hard work. We persevered through
this dangerous time, as I believe we were more afraid of our father and did what we were told.
My siblings and I stayed out of trouble, walked a straight line; and survived, we are all good
people.

My brother Jose is the 5th of 6 children; however, due to his kind heart and soft heart for
animals and people, he was, is and continues to be my mother’s favorite son. And as his sister, I
can say that I have always, do and will always admire my brother for all the good he did as a kid
in school with us his siblings and his parents, and the respectable man he grew up to be.
As a kid, two memorable acts of vulnerability, as I remember our family dog was hit by a car
and my brother carried home crying and hoping our dog would not die, he was the only sibling
with tears in his eyes heartfelt for our dog. Also, as kids on a trip to Mexico to visit the saints,
my brother Jose got ill.
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My grandmother cooked chicken stew for him so he could get well; however, after the meal he
went outside and happen to see blood on some rocks. He ran back to the house where my parents
and grandparents were and asked where the chicken ca
me from, when he was told that the chicken was used to make the stew he began to cry and
wished the chicken was still alive.

Looking back, growing up, we were poor, meaning our means were below the poverty line, we
didn’t know it at the time due to we had food on the table, clothes on our back and a roof over
our head, as we got older it became clearer that we didn’t have what typical children had; and
this encouraged my brothers including Jose to get jobs at a very young age.
Jose would worry about our mother a lot and continues to do so. He worries about her
wellbeing and health. He did for himself as much as he could so that he would not burden our
parents. We grew a religious Hispanic family; in our culture it is our duty to care for our parents
and provide.

To do so, my brothers shined shoes at the local mercado, and then held a newspaper route. My
brother Jose was recognized by one his newspaper route customers of his work ethic and
commitment that he offered my brother a job at his video store. My brother took the job and
would go to work at the video store with his pile of schoolbooks. My brother and the store
owner developed a great relationship and are still friends today. I remember my parents being
concerned for my brother doing his schoolwork, my brother told my parents that the owner
encouraged Jose to first do his homework and then his video store job. The arrangement and
money earned from this job allowed him to pay for his catholic school tuition.
When time got tough for us all when food was scares, our mother would say God will help us,
he will provide we need to continue to work and study hard.

After high school my brother and I took different paths, I decided to be a wife and a mother. My
brother Jose chose to continue his education and attend college.

When my first son was born, I choose my brother Jose as his Godfather for baptism. I knew that
if something happened to me or my spouse, I wanted my brother Jose to raise my first born.
Later in life my brother Jose gave my son David his hand me down first car. I believe that my
brother’s catholic education and strict morals our parents practiced with us has shaped our
family as individuals.

When my brother Jose was accepted to UC Berkely our family was very excited that he would
be the first to attend college on both my mother and fathers’ side of the family. We supported
him in every way we were able too, and he needed.
I have always looked up to my brother, he has been and continues to be an inspiration to me
and my family.

When he completed his education at UC Berkely, he mentioned to us that he wanted to further
his career to be a lawyer. Our family was ecstatic, we could not believe that we would have a
lawyer in our family. No other family member had the courage and commitment for this type
of work. With lots of hard work and the grace of God, my brother Jose went on to pursue his
masters at Princeton, and his law degree at UCLA.
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During his time in school there were many family events my brother missed; however, he knew
the importance of completing school. The most significant event was the death of our father.
My brother Jose was heartbroken that he was not present at our father death. Our fathers’
dying wish was “for all of us kids and mothers to stay together, help and take care of each
other”, we continue to adhere to this wish.

As I have seen my brother Jose, he is as hardworking as my father. I believe that Jose cares,
provides, and loves his wife and kids as my father did. Our father worked every single day of his
life, even through and through his drinking, I do not recall ever knowing that my father missed a
day of work. He would wake up early, make his lunch and go to work rain or shine, sick or
healthy, he worked to earn money for us his family. My father’s lunch consisted of a tortilla and
a hotdog, the same thing every day. This is what his budget could afford, looking back I now
believe that maybe the malnutrition he had caused and/or contributed to his cancer. My
brother Jose shares many similar values.

When my brother Jose announced to the family that his path was to be a politician, my
mother’s first reaction was why, why do you want to be a politician, pursue your lawyer career
she would say. She was not fond of a political career for her favorite son. My brother is very
trusting, honest, and maybe not too many street smarts to survive politics. However, his
passion for being a civil servant and helping improve the lives of others prevailed. I remember
him saying that he wanted to be a council member and represent the district he grew up in. To
clean the graffiti, to improve the streets, schools and make it a better place for generations to
come. This he has accomplished.

During Jose’s time as councilmember, I witnessed a huge improvement in the city. As our
mother currently resides in the same home my brother grew up in, you can see the potholes
were filled, schools were built to ease over-crowding in public schools, he had crosswalks
installed to make for safer crossing, introduced outdoor dining coffee shops.
I believe my brother created a happy, vibrant environment for the community. He provided a
sense of community in his district, he brought people together either on the 4 th of July
Independence Day free fireworks or providing free turkey and food at thanksgiving or free gifts
to the kids at Christmas time or the bringing back Broadway, or free music concerts, or the
mole competition in downtown. My brother brought people together and many people showed
their appreciation and love for my brother by the hundreds at his events.

His acts of kindness to his constituents also spilled over to others in need. On our family trips to
Mexico, individuals associated with schools, or medicine would approach my brother for any
donations he was able to help with. I remember my brother mentioning the city had retired and
were about to junk a few ambulances. He had the ambulance shipped to the little town of Jerez.
The town people were overjoyed and thanked my brother and God for having send him to the
town. The people now have transportation for the ill from the ranch to the town. These types of
acts of kindness my brother did expecting nothing in return, I believe Jose’s kind heart he did
Gods will.
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When the news broke of the current incident, I could not believe the terrible biased media was
referring to my brother Jose. Our family was devastated, and continues to be devastated for
how my brother, his wife, children, and our family has been and continues to be treated.
These events are not within my brother’s character, I have never in his whole life witnessed my
brother Jose do anything with malicious or ill intent.

Jose wears his heart on his sleeve, when he sees an opportunity and when possible, my brother
wants to help, and he has and does.

Due to, my brother Jose has had many positive opportunities in his life, good family values,
excellent work ethic, valuable education, and wonderful wife, and 4 loving children and a family
who loves him and supports him, he looks at those less fortunate who don’t have what he does
and extends a helping hand.

I believe my brother does everything with the best interest of people and his heart is in the
right place.

It is heartbreaking to see my brother suffer in the way he is now; a rug was pulled from under
his feet that caused him to take a deep hard fall. Jose’s life has been turned upside down, from
losing his job, the unwarranted media humiliation, to the pain his wife and kids have suffered
from when the FBI ran into his house with weapons drawn as if he was a dangerous person.
I know my brother regrets the decision he made, and I see the suffering in his eyes, heart, and
soul, Jose constantly asks for forgiveness.

If he could turn back the clock, Jose would do things differently. There is no way my brother
would have made those decisions knowing that he could lose everything he worked so hard for,
he would not put his family and himself at risk. In my humble opinion, my brother is a trusting
person, Jose trusts that others have good intention as he does, Jose is not an evil person, and is
deserving of a second chance, as we are human, and God did not make us perfect.

I believe in God, I believe we are here for a reason, and God places us where he needs us to be.
And I truly believe that the place where God needs my brother to be is with his wife, and
children. They need him tremendously as so does our mother. Jose is an asset to the community,
his time is better utilize providing for his kids and shaping them to grow up to be good citizens,
don’t take their father away from them dear Judge.

Thank you very much for reading a short segment of our life story, and your mercy.

Sincerely,

Gloria Galvan Huizar
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December 11, 2023

Dear Honorable Judge Walters,

My name is Yolanda Huizar I am Jose’s oldest sister. I am submitting this letter to provide you
and share information about my brother, whom I love very much. He has been very special
since he was born. I remember a lady wearing dark clothing with a suit case arriving late
evening to our adobe house in Los Morales, Jerez, Zacatecas. Then I saw her leaving the next
morning it was a mid-wife that came to deliver my brother Jose. A few years later we came to
the United States.

I remember him graduating from Euclid elementary school, as a big sister I represented my
parents, as they could not attend due to no being able to miss work. I was very proud of him to
see how many awards he received on his graduation. After a few couple of awards, I decided to
remain standing since I had to take lots of pictures. That day he proved to me how much he
loved school. He then attended junior high, and then attended private catholic school, and I was
concerned how my parents would pay for it. He was always top of his class and very dedicated.
He decided to take a part time job which was a part time paper route around the neighborhood.
He was known as the paper boy, since our parents did not have the funds to pay for his school.
Since our parents had minimum paying jobs, all they could afford was to put a roof over our
head and feed us and cloth us.

Jose wanted to provide help at home, with his part time job, he decided to get a different part
time job that paid a little better at the video store. At the video store his boss saw how
dedicated he was with school that his boss offered Jose to do his homework ϐirst before he
actually starts his job duties. God blessed him with that boss that saw Jose wanting to achieve
high. Years later, he gave us the news that he was going to attend Berkeley university. Which
made me very happy and sad, happy because for us not having any money and being minority,
it is a big achievement and a dream come true.
I knew that the family would miss him not being at family gathering or events but his passion
for school worth the sacriϐice.

During the time he was at Berkeley, I remember calling him and telling him that our Dad was
sick and was in the hospital and the doctor told us that he was not going to make it through the
weekend and for all of us to get together. I told Jose that he needed to come home as soon as
possible to say his goodbyes to our Dad while he was alive. Jose booked a ϐlight home for the
next day but did not make it on time before my Dad passed. It was very hard and sad that Jose
was not able to come visit and be with our Dad. That destroyed Jose even though he knew that
it was a sacriϐice that he had to make due to being in school. All us kids were at the hospital, the
only one that was missing was Jose.

Jose asked to speak to Dad, the night before his ϐlight and asked me to put the phone in his ear
so Jose to talk to him. I mentioned to Jose that Dad was not going to respond and don’t expect
to hear his voice. Tell him what you want to tell him, and so he did. Fifteen minutes later our
Dad passed, like he was just waiting to hear Jose’s voice to rest.

The entire time Jose was at Berkely I would keep in touch with him by letters, and sending him
pictures to keep him up to date with family news. When he graduated from Berkely the parents
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were allowed walk across the stage with the graduates, since our Dad was no longer with us,
Jose asked me if I would take Dads place. I felt honored, and said yes. Jose mentioned to me that
he wanted to take the opportunity to thank him for being a 2nd mom to him and for always
telling him to clean his room and do his chores.

After ϐinishing Berkeley, he told the family that he was going to attend Princeton university, at
that time I know he did not have a car, so I offered him my old Honda civic that he can use at
school, he was hesitating about taking the car because he was worried about me and my means
of transportation. He humbly took the car and was very appreciative.
During him time at Princeton I keep in touch with him all the time to provide support to him
while he was at school.

Shortly after, he told the family that he wanted to go to UCLA law school to be a lawyer. Which I
felt beyond proud of him, and left me speechless. But then again, all his life he said he wanted
to help people.

When he graduated from Princeton, Jose did go to UCLA law school. When he was at UCLA, he
met my sister-law Richelle. They were married and had 2 daughters, but my brother always
wanted a son to name his son after my Dad Simon, in his memory.
When he graduated from law school, I thought he had achieved his goal, just then he told the
family he wanted to go into politics.
I felt that he had done enough and accomplished a lot, but it seemed like he was not done with
his goals. He wanted to get into politics to help and do more and be able to help his community.
Even though he was achieving his goals he never forgot his family values and where he came
from.

Once he was in politics and I attended lots of his events and saw the tremendous amount of
people that followed him and loved him for the humble person he is it would bring tears of joy
to my eyes of just thinking he was my brother.
After seeing him meet all his goals, and seeing all the people that supported him and hearing
the horrible news, I could not believe that it was my brother they were accusing, it shocked me
to hear what they were saying about him in the news.
The sad part of it all was when it happened and how it happened, since people were not going
to see him in public, they were going to believe the lies were true without the chance to defend
himself.

As for the family we are devasted, but I have faith that my brother will get back on his feet and
will soon will be looking back on all the good he did and all the people he helped. Like I have
always told him, I am here for him to help him in anything and everything he needs.
God has good plans for him.

Thank you for taking your time to read my letter, I really hope it’ll help you see my brother is
not that person that those people want you believe he is.

Sincerely,
Yolanda Huizar,
Jose’s oldest Sister
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Dear Honorable John F. Walter                                             December 19, 2023



        I am Jose Luis Huizar mother and want to say that my son is a very good kindhearted person and
loving son. As a young boy Jose was mid, not aggressive, he was quiet, I some mes had to remind him
to eat. He is loving, he always gives me a hug and kisses.

         My son Jose was the easiest son to raise of all our 6 kids. He was humble and kind, he listened to
me and his father and did what he was told. Even though his father would yell at him and scold him for
being so quiet. We never received any complaints from any of his teachers, he kept to himself and kept
out of trouble at school and home with his siblings. As a kid, on the weekends he played sports like
baseball at our local Evergreen Park.

        My husband and I would take our six kids to what we call El Parque de la cuatro, or Hollenbeck
Park. Jose played with his siblings, he was unlike my other sons who would play rough, Jose did not play
rough. When his siblings got aggressive his father would tell Jose to defend himself, but Jose preferred to
keep the peace.

        During the week a er school, he worked on his newspaper route. God has taken care of my son;
Jose has had many people help him throughout his life. For example, his boss Masamichi. His boss
Masamichi guided Jose with his work experience, I think his boss helped him very much because he
recognized that Jose’s parents were poor and did not speak English and could not help him. Masamichi
con nues to be part of Jose’s life. I am happy this person was able to help my son Jose as much he did
since we could not provide that kind of help since we didn’t speak English and didn’t know how to or
what to do.

       My husband and I came the United States so that our children could have a be er life and more
opportuni es than living in Mexico. We knew it would very diﬃcult since we didn’t speak English, but we
were willing to work hard and make sacrifices to help all our children. My sister‐in‐law Pepa was a
tremendous help to us. She took care of my youngest child so that I could work to earn money and help
my husband.

         Jose is a very agreeable son and has always been very studious. He is the most studious of all our
kids. My son Jose is diﬀerent, he has discipline and always worked on his studies or work. He was the
only child that would study late through the night. My son Jose took care of himself, from ge ng his
clothes ready and everything.

         When my son Jose was in junior high school at a public school, he on his own went to Salesian
High School and talked to a priest to allow him to a end the catholic. He met Father Jim at Salesian;
Father Jim has also helped my son achieve his goals; Father Jim guided my son Jose during his me at
Salesian. Jose paid his own tui on with the li le money he earned from his job. The way I was able to
help him was that I would work at the school carnivals, and I would sell raﬄe ckets for the school to get
a reduced tui on. He didn’t ask us to pay for his school, maybe because he knew we couldn’t aﬀord it.

        My son Jose never hung out with bad or troublemaker kids, he received good grades in all his
schools. I think Jose did well because he wanted us to be proud of him, he wanted to make a diﬀerence,
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he was very lucky to have met Father Jim and they are s ll friends today. Father Jim was our local priest,
and he married my son, and bap zed all his kids, and has been there for my son Jose and his family.

        When Jose told me he was going to go to study far away at Berkeley, I was very sad because I felt
that I would not see him anymore, and I cried a lot knowing that he was going to be far from me. I didn’t
want him to leave me or not see him, I worried about him every day. The day came, Father Jim and I
drove him to the university. We took him to a home where priest live, and we told the priest to guide
him and take good care of him.

         Then, when he told me he was going to Princeton, I was very proud of him because I knew that
not just anyone could a end this school. I knew that my son Jose was special and had what it took to get
accepted to this school. He is a studious student, a good person and honest. These are the type of
people that a end this school. My friends were happy for me and my son Jose. He truly is a special
person and worked hard to get into this school.

         I agreed and was happy when my son Jose finished Princeton and decided to be a lawyer. I
remember him telling me he was studying to take a big test to be a lawyer, and when he passed the test,
I gave him a very big hug and kiss and told him I was overjoyed.

         I was not happy and did not like the idea when Jose told me he was going to be in poli cs, I did
not like poli cs for my son Jose, he is an honest person. Poli cs are not good, but I supported my son’s
decision.

         For me as his mother, many people would tell me they loved my son for all the good things he
did for the people and the city. Up to this day, people have told me they love him and miss him as a
councilmember.

          My son Jose is a wonderful father to his children and wife, he loves his family, and they need him
in their lives.

        My son is not a criminal. I believe the me he is looking to serve in prison does not fit with his
actual ac ons.

       I need my son, he takes care of me, he brings me food, he arranges my doctor appointments and
takes me to the doctors’ appointments.

        He handles all my medical needs from my den st, my optometrist, and my heart doctor and
knee, and primary doctor. He handles my prescrip ons, and he picks them up for me and he talks to my
doctors about my medical condi ons, my son knows all my medical condi ons. I call him for everything,
and he solves my problems. More than anything, at my age of 83 years old with my medical condi ons I
need him desperately, and I don’t even want to think about life without him.

       I beg with all my heart to you judge don’t take him away from me, you don’t understand how I
would suﬀer without him.

Thank you, your honor for listening to me.

Isidra Huizar, Jose Luis Huizar’s Mother.
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                            EXHIBIT 1-7
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December 20, 2023

Honorable John F. Walter
United States District Court
For the Central District of California


Dear Judge Walter,

I am writing to you today as a character reference for Jose L. Huizar. My voice comes to you as
someone who has dedicated over 30 years to the empowerment of children and families. I am
a social worker by training and have recently completed serving 16.5 years on the Board of
Education of the Los Angeles Unified School District.

Your honor, I want you to know that I am aware of the seriousness of the circumstances that led
to this sentencing hearing. My heart is broken for the pain associated with this matter for the
Los Angeles community as well as the involved families.

I met Jose as a young, bold and determined 16-year-old who worked to change conditions for
vulnerable populations and empower individuals and families with the power of education and
civic engagement.

Over the years, Jose became a distinguished leader for his community and fought for access,
support and justice to interrupt cycles of poverty and discrimination. In 2001, he became a
trailblazing school board member at LA Unified representing high poverty and underserved
neighborhoods. Most significantly, he was one of the leaders of the largest public works
program that built 131 new schools in LA. This historic public works program ended forced
busing and the academically inferior concept 6 calendar, which offered students 163 days of
instruction instead of 180. In addition to building seats for students, he was a leader in the
movement to create access to college going curriculum, removing institutional barriers that
discriminated against children attending underserved schools in high need communities.

At LA Unified, Jose used his personal and professional experience to fight for the civil rights of
thousands of young scholars through creating schools, workforce & mentoring experiences, and
more targeted community services. Jose L. Huizar made a positive impact as a school board
member. His willingness to take on significant battles to change policy at the second largest
district in the country, increased access and opportunity that will be felt for generations to
come. Thank you for your time.




Monica Garcia
LAUSD Board President, 2007-2013, 2015-17
LAUSD Board Member 2006-2022
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                                  #:27861




                            EXHIBIT 1-7a
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                                  #:27862



Hon. John F. Walter
c/o
Charles Snyder
321 East 2nd Street
Los Angeles, CA
90012-4202

Judge Walter:

  I write to you on behalf of JOSE HUIZAR who appears before you for sentencing.

   I have known Jose for over twenty years. During those years, I have been Founder and
Execu�ve Director of Homeboy Industries, the largest gang interven�on, rehab and re-entry
program in the world. It was founded in 1988. As well, for forty years, I have lived in Jose’s
former Council District in Boyle Heights, where I previously was Pastor of Dolores Mission (1986
to 1992), as well as co-founder of Proyecto Pastoral at Dolores Mission (1987).

   I ﬁrst met Jose when he was a member of the School Board, but speciﬁcally, he had a TV
program whose focus was on educa�on in communi�es like mine, where folks are on the
margins, and suﬀer from serious disinvestment and disadvantage. I remember the �mes I was
on his cable program, and how sincere and authen�c he was in advoca�ng for those whose
burdens were more than they could bear. He embraced public service as his way of standing
with the poor and the voiceless. His heart to serve was born of his own exposure to the
immigrant struggle in his own family experience.

   At the �me he and his family arrived from Mexico, and he was three, he lived in a most
challenging area of Boyle Heights with a gang dynamic that was quite vola�le and pervasive.
Living in “El Hoyo” (The Hole) was a place quite notorious and it would be hard to overstate the
diﬃculty for a teenager to navigate it.

   A�er a troubled start in middle school, he tenaciously entered Salesian High School, worked
to pay his own tui�on, and with the mentorship of my friend, Fr. Jim Nieblas, he graduated and
furthered his educa�on to include a Bachelor’s, Masters and Law degree.

   Certainly, as a resident during the �me he was a Member of the Council, his
accomplishments and considerable improvements on life in my community are indeed
numerous. From the crea�on of the Mendes Learning Center to the 6th Street Bridge, he
galvanized eﬀorts, good will and resources to improve the quality of life for people who had
long been forgoten and neglected by their elected oﬃcials. I can’t think of any oﬃce holder
who was more of a beneﬁcial presence in Boyle Heights than Jose Huizar.

  There was indeed a great tenderness that he extended to his family and especially at a �me
when his daughter was quite ill. He would o�en atend with his family, services at Dolores
Mission and there was a great sense of solidarity in prayer and aﬀec�on for all of them.
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   Like anyone raised in the Boyle Heights area, I am keenly aware of how monumental was Jose
Huizar’s journey from Mexico to elected oﬃce. The degree of diﬃculty of any young person in
this community, of which I am privileged to live, is challenging and arduous to say the least. I
remain in awe at what Jose has had to carry rather than in judgment at how he’s carried it. He
has, of late, truly inhabited a humility and remorse and clearly, he is a whole lot more than the
worst thing he's ever done.

  Mercy, as Pope Francis says, IS…who our God is. “Mercy upon mercy upon mercy,” Thomas
Merton writes. I am grateful for the invita�on to write this leter and know that it will arrive
before a merciful reader. I know the goodness of Jose Huizar’s heart and I am grateful to you,
your Honor, for your kind considera�on of this leter.

   I remain, indeed, grateful.


Sincerely,


Fr. Gregory J. Boyle, S.J.
Founder
Homeboy Industries.
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                                  #:27864




                            EXHIBIT 1-8
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                                  #:27865

 From:           Ted Gabrielli, SJ
 To:             Charles Snyder
 Subject:        RE: Mr. Jose Huizar
 Date:           Monday, December 18, 2023 10:20:43 PM




 December 18, 2023

 Hon. John F. Walter

 I am Fr. Theodore Gabrielli, S.J. and from 2011—2023 I was a pastoral associate for 4 years
 and then Pastor at Dolores Mission Catholic Church and School in Boyle Heights, CA for 8
 years. While at Dolores Mission I was actively involved in several projects at the Church and
 School that sought advice, guidance, and support from the office of Councilman Jose Huizar.
 Throughout my 12 years at Dolores Mission, Mr. Huizar and his office staff were very
 supportive of the Boyle heights community and very responsive and present to the needs of
 our community—much of our community lives in Federal Housing Authority Housing and
 survive on resources that are well below the federal poverty level.

 On multiple occasions I was aware of the presence of Mr. Huizar on the streets and in the
 projects at times when the community needed support because of shootings, killings, and
 increased violence. Mr. Huizar often sought input from community residents, leaders, and
 people serving the community through churches, schools, and other nonprofit organizations.
 Mr. Huizar and his staff were always quick to respond to our requests for urgent graffiti
 removal when tensions were escalating in our community. As community groups came
 together to offer children in the community programs throughout the summer to help keep
 them out of reach from the gangs and therefore on a safer path toward their future, Mr. Huizar
 and his office provided programing support, helped find transportation for outings for children
 from the projects, and Mr. Huizar and his staff would often be visible at events in our parks,
 playgrounds, and even walking through the streets as we gathered the community to walk for
 hope and peace on our streets.

 When one of Mr. Huizar’s children was suffering from and then recovering from Leukemia
 Mr. Huizar and his family were present in our community and offering hope and support for
 families in our community that were struggling with illness in their homes, experiencing the
 loss of a loved one, or looking for ways to help family members preparing to reintegrate into
 society after periods of incarceration.

 In 2017-2018 Dolores Mission school expanded our school footprint with a new building on
 our property that would serve our youngest school children with age-appropriate classrooms,
 facilities, and a play area. The new building also provided space for our youth groups,
 catechetical programs, parish adult programs, and special programing for our unhoused
 community living in our two year-round shelters. We were able to go from groundbreaking to
 occupancy in 11 months, and this would not have been possible without advice, support, and
 guidance form Mr. Huizar and his staff. The church and school worked hard to find our
 financial support for the project from friends across the country and to put together a solid
 construction team, but as construction projects go--one needs to navigate well all regulations,
 permits, inspections, etc. and this was all made possible with guidance and support from our
 local council person Mr. Jose Huizar.
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 When I think of Mr. Huizar, I remember him coming to the church asking for prayers and
 blessings for the health of his child. I remember Mr. Huizar and his family coming to our
 church to give thanks for the improved health of their child. I remember Mr. Huizar sharing
 words of hope and support when speaking with the distraught mother of one of our teens who
 was critically ill with a very aggressive form of Leukemia. I remember Mr. Huizar walking
 down the street with our community as we mourned the loss of another of our young
 neighbors to violence.

 As Mr. Huizar has always been there for our community, I believe the members of our
 community will look forward to walking with and supporting Mr. Huizar when he is allowed
 to reintegrate into society. We will be there for him as we are for others in our community,
 and together we all will find healing and strength to continue our journey.

 I am away from Dolores Mission for a few months, but I can be reached at my cellular number
 below if I can be of any assistance to you.

 Peace and blessings,

 Fr. Ted, sj
 Theodore Gabrielli, SJ

 Cellular: +1(408)656-3514
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                            EXHIBIT 1-10
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To: Honorable John F. Walter
From: Raymond Rios
Date: December 21, 2023
In Reference to Leter of Character for Jose Huizar
Dear Judge Walter,
       My name is Raymond Rios and I am a sixty-four year resident of Boyle Heights
and El Sereno. Over the years and out of necessity, my wife and myself have become
strong community advocates in the communi�es of Boyle and Lincoln Heights, as
well as El Sereno and Hillside Village where we work closely with the Hillside Village
Homeowner’s Associa�on. We also work closely with our local Park Advisory Boards
for Hazard, Lincoln, and Ascot Parks. Our �me dedicated to our community is strictly
a labor of love. Because many of the community improvement projects that I
support are lead by diﬀerent levels of our local governments, including our State
Assembly, County Supervisors, and City Council members. This last agency is where
I met Mr. Jose Huizar.
      I am wri�ng to you this day to share some my experiences regarding Mr.
Huizar our former Councilmember from Council District 14 in the City of Los
Angeles. I have known Jose for close to twenty years ﬁrst as a local school board
member for the Los Angeles Uniﬁed School District and then as our City
Councilmember for the 14th District. As previously men�oned, many of the projects
and improvements that we push for as residents require both support and funding
o�en from our Council oﬃce.
       As our City Council representa�ve, Mr. Huizar has always been ready to assist
residents. So much of his work was to build community within his council district
and he did so by suppor�ng community parades and Independence Day ﬁreworks
shows as well as revitalizing Broadway in downtown Los Angeles. He was also
responsible for improving our community with many new and beau�ful
infrastructure projects such as the 6th Street Bridge in Boyle Heights. He was always
very transparent with our community on what improvement projects were coming
and how they would beneﬁt residents. In addi�on, he was always there to support
the children, teachers, and staﬀ of our local public schools. In our community parks,
he was able to secure funding that would bring new ﬁelds, ba�ng cages, and
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ﬁtness centers to Hazard. He guided the crea�on of a beau�ful 93 acre Ascot Hills
Nature Park in El Sereno. He was a true champion for green space and what they
oﬀered to residents.
      Whenever there was a community batle, he defended his cons�tuents and
valued their concerns, o�en against very powerful forces, such as USC, and Union
Paciﬁc Railroad. When our city was in a ﬁnancial crisis and began cu�ng vital
emergency services to residents referred to as, “Brown outs”, he was one of the
few Councilmembers who objected to these cuts that jeopardized the welfare of
residents. He fought hard to restore adequate funding for these vital city services.
       On a more personal level, I have always observed Jose to be a caring and
compassionate father to his children and husband to his wife Richelle. His love for
his family was never more evident than when his youngest daughter was diagnosed
with leukemia. He, along with his wife Richelle, stood strong together during this
crisis as they went through the treatment process. Thank God she was able to
recover from her illness.
      Myself, along with my wife Ruth Rios, and community have worked so hard
and for so many years with Jose to improve our community and we s�ll had so much
work to do when these legal maters transpired. We were obviously very, very
saddened to hear of these legal issues not only as a loss for community but for his
family who we consider our family as well.
      I hope that that this informa�on has given you a beter picture of who Jose
Huizar is to us and what he meant to our community. Jose is not a bad person by
any means but obviously very human and as humans, we do make mistakes. He has
spent his whole poli�cal and personal career giving to others, I pray that would have
some merit in your eyes and that this would lead to a very favorable outcome for
Jose and his family. Again, I thank you for your �me Judge Walter and ask that you
would please consider all the good that Jose has given to the many residents of our
community and to this world.
                                  Sincerely, Raymond Rios
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                            EXHIBIT 1-11
       Case 2:20-cr-00326-JFW Document 1228-1 Filed 12/28/23 Page 38 of 145 Page ID
                                         #:27874

Natalie Degrati

From:                Caridad Vazquez <caridad.vazquez14@gmail.com>
Sent:                Thursday, December 21, 2023 2:05 PM
To:                  Charles Snyder
Subject:             Caridad Vázquez



EXTERNAL SENDER
(Espanol abajo) To the Honorable Judge John F. Walter, My name is Caridad Vazquez, I am a community leader in my
beloved Eastside community of Boyle Heights and a street vendor who lead the campaign to Legalize Street Vendors. I
write this letter on behalf of VEA, Vendedores En Accion, an autonomous organization of 80 street vendor from City
District 14. As a community of immigrants and most vulnerable women of color whom had to create our own alternative
to form part of the non‐informal economy, we believe it is our duty to share all the positive support that enabled our
campaign to thrive was immensely due to the support of Jose Huizar. When we were hiding in the shadows of
oppression and criminalization of street vendors, Jose Huizar was our beacon of hope in creating the pathway for the
legalization of Street Vending. Many times when we needed economic support Jose Huizar would resiliently connect us
to job opportunities to keep ups afloat in having sustainability to feed our families. We hope that our letter brings light
to the amazing work that was done in transforming not only the lives of the street vendors in CD14 but as our work was
successful in legalizing street vendors statewide and Jose Huizar was very much part of the success. WE the Street
Vendors of CD14 stand in Solidarity with Jose Huizar as he stood next to us in support of our struggle to being inclusive
of the economy, ___ Al Honorable Juez John F. Walter, Mi nombre es Caridad Vázquez, soy líder comunitaria en mi
querida comunidad del lado este de Boyle Heights y vendedora ambulante que lideró la campaña para legalizar a los
vendedores ambulantes. Escribo esta carta en nombre de VEA, Vendedores En Acción, una organización autónoma de
80 vendedores ambulantes del Distrito 14 de la ciudad. Como comunidad de inmigrantes y mujeres de color más
vulnerables que tuvimos que crear nuestra propia alternativa para formar parte del grupo no‐ economía informal,
creemos que es nuestro deber compartir todo el apoyo positivo que permitió que nuestra campaña prosperara y se
debió inmensamente al apoyo de José Huizar. Cuando nos escondíamos en las sombras de la opresión y criminalización
de los vendedores ambulantes, José Huizar fue nuestro faro de esperanza para crear el camino para la legalización de la
venta ambulante. Muchas veces, cuando necesitábamos apoyo económico, José Huizar nos conectaba resilientemente
con oportunidades laborales para mantenernos a flote y tener sostenibilidad para alimentar a nuestras familias.
Esperamos que nuestra carta arroje luz sobre el increíble trabajo que se realizó para transformar no solo las vidas de los
vendedores ambulantes en CD14, sino también cómo nuestro trabajo tuvo éxito en la legalización de los vendedores
ambulantes en todo el estado y José Huizar fue gran parte del éxito. NOSOTROS, los vendedores ambulantes del CD14,
nos solidarizamos con José Huizar mientras él estaba junto a nosotros en apoyo de nuestra lucha por ser inclusivos en la
economía.




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                            EXHIBIT 1-12
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                            EXHIBIT 1-13
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Dear, Mr. Hon. John F.

This letter is about Mr. Jose Huizar . I’m writing on behalf of Jose Huizar to attest his server as Council
member District 14, He was an execetional Council member in our communities of Boyle Heights,
Sereno, Lincoln Heights Northeast, Downtonwn . He serves the community by providing vital services
.He provides safety , and driving by a commitment to making HealthCare and housing more affordable
for all in the communities. Also he works to renovate the 6th bridge ,he help the small busines/ El
corredor on the 1St st on Boyle Heights ,he creates new bike lanes and green spaces ,repair crumbling
sidewalks, he create The clean up group with people who lives on the community , he creates a jobs for
older , he has hopes for the community . He was always for the communities , he creates jobs for youth
people, I want to thanks Jose Huizar Council member for his work he made in the community. In my
community of Boyle Heights where I live since 36 years ago. He was the only Council that he was very
open , and spoken council who sits with the community and listened to the community`s needs.

It is with great pleasure that I can attest to Mr. Jose Huizar his excetional contribution as Council
member in my Community. Please feel free to contact me at angelagutierrezlt@gmail.com

Community member Angela Gutierrez
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                            EXHIBIT 1-14
Case 2:20-cr-00326-JFW Document 1228-1 Filed 12/28/23 Page 45 of 145 Page ID
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Dear Judge Walter

       My name is Yolanda Rodríguez. I met Mr. José Huizar when he was in the Los Angeles

Ca School District. We had a lot of support from Mr. Huizar in the renovations of the parent

center at Stevenson Middle School where I work. He also supported us a lot in the school events

that were held.

       In the community he supported us in cleaning and repairing the streets that benefited the

residents. Community events and each year provided turkeys and toys for schools, the

community including families in need.

       Personally, Mr. Huizar listened to the requests and needs of the area in which I live.

While my involvement in the community he was able to write me a letter that helped me a lot to

overcome a difficult time personally.

        Mr. José Huizar did many things that benefited schools, parks, churches and in general
his entire community with great love.


       Sincerely,


       Yolanda Rodriguez
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Estimado Judge Walter



       Mi nombre es Yolanda Rodriguez. Conocí al señor Jose Huizar cuando estaba en el

Distrito Escolar de Los Angeles Ca. Tuvimos mucho apoyo del señor Huizar en las

remodelaciones del centro de padres en Stevenson Middle School en cual yo trabajo. También

nos apoyaba mucho en los eventos escolares que se realizaban.

       En la comunidad nos apoyó en las limpiezas y arreglos de las calles que beneficiaban a

los residentes. Eventos comunitarios y cada año proveía pavos y juguetes para las escuelas, la

comunidad incluyendo familias en nececidad.

       En lo personal el señor Huizar escuchaba las peticiones y necesidades del área en cual yo

vivo. En mi involucramiento mio para la comunidad pudo hacer me una carta que me ayudo

mucho para superar un tiempo que pasaba difícil personalmente.

       El señor Jose Huizar realizó muchas cosas que beneficiaron a escuelas, parques, iglesias

y en general toda su comunidad con mucho cariño.



       Atentamente


       Yolanda Rodriguez
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                            EXHIBIT 1-15
       Case 2:20-cr-00326-JFW Document 1228-1 Filed 12/28/23 Page 48 of 145 Page ID
                                         #:27884
Natalie Degrati

From:                Susana Betancourt <susanabetancourt@yahoo.com>
Sent:                Sunday, December 24, 2023 7:17 AM
To:                  Charles Snyder
Cc:                  Jose Huizar
Subject:             Letter of Support for Jose Huizar in U.S. v Jose Huizar CR 20-326(A)-JFW (Correction)



EXTERNAL SENDER
Letter of Support for Jose Huizar in U.S. v Jose Huizar CR 20-326(A)-JFW
Honorable John F. Walter,

I am writing, in requesting sincere merciful consideration, in your deliberation, on behalf of Mr. Jose Huizar, who has
expressed remorse of his wrongful criminal actions, and is facing sentencing in your court, and jurisdiction.

The convicted criminal charges, against Mr. Jose Huizar, of conspiracy to violate the RICO Act, and of tax evasion, are not
of his genuine character, as he had consistently demonstrated to be a more honest individual, a loyal, hardworking,
devoted family man, and a well respected citizen. Moreover, as our former CD14 City Councilmember, we had jointly
collaborated with Mr. Jose Huizar, in numerous notable community projects.

Mr. Jose Huizar attended Salesian High School, a local Catholic high school, where three of my brothers also attended, in
Boyle Heights. We had supported Mr. Jose Huizar, who was our esteemed CD14 City Councilmember for 15 years, since
2005, as he was truly dedicated to improving the City services, resources, and general quality of life for his CD14
constituents, and to the humble community, of his family’s upbringing.

Mr. Jose Huizar’s societal contributions, as our CD14 City Councilmember were quite noteworthy, as in obtaining City,
and private funding for our local parks, in working with architects and engineers on expedited sidewalk and roadway
improvements, in establishing City plans for the highly awarded 6th Street Viaduct Project, and the reconstruction
completion of the Hollenbeck Police Station in 2009. Furthermore, in enhancing the Metro Gold Line Eastside Extension
Project, to include a stop at the Boyle Heights Mariachi Plaza, in 2009.

Moreover, another of Mr. Jose Huizar‘s imparted historical contributions, specifically to our Latino community, is with
the dedication, of a bronze monument in DTLA, sculpted per Dan Medina, in 2019, in honoring the numerous Mexican
Bracero farmworkers, of the contracted immigrants, during the US labor shortage after WWII, as my elderly father, who
had immigrated from Mexico., to California, in proudly contributing his services. These honorable hardworking
immigrants, and generational family members, have become productive citizens to our American society.

In conclusion, your consideration of Mr. Jose Huizar, a devoted father of four children, and consideration of his family’s
endured hardships, would be truly appreciated, not solely per I, but of the hundreds of Boyle Heights community
members, that I represent. Including, many of our senior citizens, of the 20 block radius, of our Boyle Heights
Neighborhood/Business Watch Program, who have expressed similar sentiments, and concern, for Mr. Jose Huizar’s well
being, during this public denunciation.

In retrospect, we can honestly testify, to Mr. Jose Huizar’s overall good moral character, during his devout, and
compassionate years, as our public representative.

Sincerely,
Susana Betancourt
LAUSD Retired Science Teacher, Boyle Heights Neighborhood/Business Watch Coordinator, Hollenbeck Park Advisory
Board Member & Hollenbeck Div. LAPD Advisory Board Member
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                            EXHIBIT 1-16
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‭Dear Judge Walter,‬                                                      ‭December 18,2023‬

‭ y acquaintance with Jose Huizar began in 2013, when I became a member of the Eagle Rock‬
M
‭Neighborhood Council for the next several years. I grew better acquainted with him when I‬
 ‭volunteered for his last campaign for City Council in the spring of 2015.‬

I‭n an eclectic council district of diverse neighborhoods with a total population of over 260,000,‬
 ‭Jose consistently “showed up” for Eagle Rock in a variety of ways, sponsoringing public events‬
  ‭like concerts in the park, Fourth of July fireworks, the annual Christmas tree lighting ceremony,‬
   ‭and the Eagle Rock Music Festival, and formally honoring local businesses and residents who‬
    ‭made special contributions to our neighborhood. He took principled positions on issues he‬
     ‭believed would benefit his constituents, such as the reconfiguration of Colorado Boulevard to‬
      ‭include bike lanes; advocating for the reduction of pollution from the Scholl Canyon landfill; and‬
       ‭many street improvements encompassed by Take Back the Boulevard. He endorsed and‬
        ‭secured funding for a new park at the corner of York Boulevard and Avenue 50; the creation of‬
         ‭an off-leash dog park at the Eagle Rock Recreation Center; and parklets in various locations‬
          ‭which have improved the quality of life for residents and visitors to our district. He sponsored‬
           ‭food giveaways for needy residents and in his public and private remarks always displayed‬
            ‭genuine concern for the welfare of the people he served. Another thing about his leadership‬
             ‭that impressed me was the high quality of staff he hired. It was always easy to communicate‬
              ‭with them and they welcomed anyone who wanted to contribute to making CD 14 a better place‬
               ‭to live.‬

I‭ was privileged to have some private conversations with Jose in which he shared information‬
 ‭about his youngest daughter’s progress as she underwent treatment for leukemia, something‬
  ‭one of my sisters had also experienced. He occasionally discussed his family’s modest origins‬
   ‭in the Zacatecas region of Mexico and his pride in his immigrant heritage. Jose’s warmth and‬
    ‭kindness have always been apparent to me and were part of my motivation for volunteering for‬
     ‭his campaign, albeit in a minor capacity. After he was re-elected, he graciously invited a few of‬
      ‭us volunteers and supporters to his home for lunch, a gesture he would not have had to make.‬

I‭n short, I believed and still believe that Eagle Rock and CD 14 as a whole were well‬
 ‭represented by Jose Huizar, whom I am proud to call my friend.. Of course I’ve read about the‬
  ‭acts for which he’s been convicted, but they are not consistent in any way with the man I know,‬
   ‭nor do they diminish my respect for the work he did as our councilmember.‬
    ‭I hope you will consider my comments along with those of other friends and associates when‬
     ‭you make your sentencing decision. Thank you for this opportunity to let you know something of‬
      ‭my experience with someone for whom I have great respect and affection.‬

‭Sincerely yours,‬

‭ ohn Goldfarb‬
J
‭5432 Hartwick St.‬
 ‭Los Angeles, CA 90041‬
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                            EXHIBIT 1-17
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                                  #:27888




December 2, 2023


Hon. John F. Walter,
I am writing this letter on behalf of my friend and former Los Angeles City Councilmember Jose
Huizar.
As President of the Eagle Rock Chamber of Commerce, I worked closely with Mr. Huizar on
various community events. Once Jose Huizar was elected as our Councilman, I organized a meet
and greet at my home. He listened to our concerns and issues within our neighborhoods,
schools, and businesses. He set a timeline when we could start to see the wonderful changes,
he instated in his council district. A few years after that meeting, he invited many of our local
community leaders to his home for an appreciation luncheon in his backyard.
Jose gave us his strong support in bringing our community together to keep the small-town
spirit alive “Concerts in the Park,” was created, a free music series every weekend beginning
with the 4th of July concert and fireworks show. Jose supported the event wholeheartedly and
it continues today. From there Jose helped me steer the business corridor with “A Taste of Eagle
Rock” featuring our eclectic eateries. Jose also supported me when I founded the Eagle Rock
Certified Farmers Market. When the Holidays arrived, Jose contacted me for assistance with the
Pumpkin Patch, Turkey giveaway and the Annual Christmas Tree Lighting/Santa Toy giveaway for
the local families and those in need.
Our neighborhood began to thrive because of the care and consideration of a man who
understood the importance of family and community. His compassion and warmth he gave to us
all. His jovial attitude and good-natured joking about kept us in good spirits.
When the news broke, we as a community were broken-hearted to the core. So, unlike his
character. We were saddened. We prayed for him. He was part of our community family. He, by
far was the most outstanding Councilmember our community has ever experienced. I’m sure
most of his district would welcome him back. Lessons are learned and chances to redeem are
there.
Thank you for your consideration,

Michael Nogueira
Michael Nogueira
President- Eagle Rock Chamber of Commerce
Cell: (323)-333-1000
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                            EXHIBIT 1-18
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                                       December 19, 2023




Honorable John F. Walter
Federal Public Defender
Central District of California
321 E. 2nd Street
Los Angeles, CA 90012

At: Atorney Charles Snyder
I apologize on the lateness of this support leter.
I am wri�ng this leter on behalf of both I, Therese Hernandez Cano and my husband Jose A.
Cano.
I am nearly a life long member of El Sereno, having grown up and atended grade and high
school here and returned as an adult to take care of my mother.
In early 2011, I informed my husband about a possible cri�cal event jeopardizing our
neighborhood and our home. That threat was the extension of the 710 freeway.
I took this threat very personally, as my parents were neighbors that fell in love, in Chavez
Ravine. Having lost my mother in 2006 and father in 2001, I knew their spirits would not rest
easily knowing eminent domain was again looming over our family.
Mr. Huizar was a constant and vigilant member of the MTA Board at the �me. He saw our
concern and was instrumental in defea�ng the proposed devasta�on.
I also had heard that Mr. Huizar was proac�ve with our senior ci�zen center. His generosity with
his �me and budget brought much joy to our seniors.
My personal gra�tude to Mr. Huizar, was his staﬀ direc�on in suppor�ng my beloved Dia de los
Muertos event. This free and family event brought more commerce to the neighborhood
speciﬁcally during the economic downfall and for years following. 2024 will be its ﬁ�eenth year.
His vision in the bridge comple�on from Valley Boulevard to City Terrace was a huge boon to our
neighborhood. Changing an unsightly space to the lovely El Sereno Arroyo Playground and
Garden Labyrinth nearby was another of his successful projects. His proac�vity in Ascot park by
involving habitat restora�on has renewed the ecosystem in these hills. I believe the diagonal
street parking also implemented, has been a great visual and space improvement.
In my interac�ons with Mr. Huizar, I have witnessed his intelligence, gentle considera�on with
professionality and kindness.
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Honorable John F. Walter
December 19, 2023
Page Two




I believe that Mr. Huizar has been deeply impacted on the unwise decisions he made both in his
professional and personal life. He will con�nue this soul searching voyage for probably his
life�me.
As two individuals, residents of 90032 and supporters of Mr. Huizar, I request you consider his
sentence with the same though�ulness he has shown our neighborhood.
Thank you,


Therese Hernandez Cano & Jose A. Cano
2946 Warwick Avenue
Los Angeles, CA 90032
(323) 867-0293
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                            EXHIBIT 1-19
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Honorable Judge Walter, I am writing on behalf of Mr. Jose Huizar. My name is Jackie Carrillo I am
employed by Los Angeles Unified School District, my position is School Climate Advocate, I work at El
Sereno Middle School. I’ve been employed with LAUSD for 19 years and worked 6 years in the (PACE)
Parent And Community Engagement Unit at Local District East Superintendent’s office.

El Sereno community for the past 28 years is home to my 2 daughters & I. Living & working in a small
community, you get to know many families over the years. El Sereno has many fun, enjoyable traditions
that are for families throughout the year that are hosted, partnered with organizations & CD14.

I met Mr. Huizar at the annual 4th of July Parade event. My daughter was in the parade representing the
ESMS Color Guard team. The parade route ends at El Sereno Park where families gather bring their
chairs, blankets to enjoy the festivities, food, booths, music until the sun goes down for the spectacular
firework show.

Mr. Huizar, his wife & children, sometimes his mom would spend the day at the park with hundreds of
people, eating, laughing & dancing, I have never met a councilman, politician who was humble, caring
and genuine. He invited volunteers to his mother’s home for some homemade Pozole during
Thanksgiving holiday. The Huizar family became El Sereno’s family.

2016 I joined the LA 32 Neighborhood Council, where I learned a lot about being a representative of
change in my community. I held the Vice President position & over saw several committees and
supervised projects. During this time, the people that teamed up & volunteered were CD14 staff,
LAPD Hollenbeck Division, LAFD station 12, 14 and other agencies to bring activities, events to El Sereno.

Our annual Christmas time was full of memorable community activities, local school students would
perform and LAFD would bring Santa Claus & Mr. Huizar, and one of his children, or all of them would be
on the fire truck with Santa arriving to celebrate with the community. Over the years families would look
forward to these times of celebrations.

The community has not been the same since Mr. Huizar has left office. The spirit of unity is missing &
that since of belonging. Traditions that have been started since he took office, established over the years
when he held the CD14 office position. Mr. Huizar was a difference maker, he knew people by their
names, their families, always made appoint to come say hello, shake your hand & ask about your family.

In closing, I know & have felt the heart of Mr. Huizar & his family. Family is strength & important to him.
Many of us in the community have been brought in by the selfless outreach of community gatherings
where it is safe & you look forward to the time spent together. The view of a community leader has
forever changed me to want to help in ways that could better the future of our youth, community
through the eyes of Mr. Huizar.

Thank you for your time,

Sincerely,

Jackie Carrillo

323-270-1053
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December 6, 2023


Honorable John F. Walter,

My letter is regarding former Councilmember, and friend Jose Huizar.
As the President of The Highland Park Chamber of Commerce, I worked closely with Jose Huizar on many community projects
and events. Jose installed the very first Parklet and Bike Corral in the city of Los Angeles on York Boulevard in Highland Park. I
was the guardian of the Parklet for our community members and business corridor. Jose was the first again to create a much-
needed Childrens Pocket Park on York Boulevard across from our family historic brick building. It was a vacated gas station for
years, now it’s a busy playground for families. This is his innovative creation. Jose teamed with me on our Northeast Los Angeles
Veteran’s Parade following a Solemn Ceremony and laying of the wreath. His thoughtfulness and compassion for our Veterans
included a buffet luncheon where he gave certificates to each honoree and heard their stories of war. We also worked together on
the 2nd oldest and largest parade- the Northeast Los Angeles Christmas Parade, where he helped with our permits, location,
parade programs and much more. We worked together on the Mercado Arts & Crafts Fair on York Boulevard. He provided the
equipment which helped our local starving artist set up to sell their handmade arts and crafts now going on its 8th year.

Jose Huizar was connected to his entire community, like he was part of the family, so many people loved him and still do. Jose
has a warm sense of humor that kept us laughing at meetings, he was magnetic, compassionate, and loyal. We never had a
councilmember work so hard for us and fight for us, who sincerely cared for the well-being of our community than Jose Huizar.
After the news broke our hearts dropped. We knew this was totally out of character for him, it was shocking to us, we were
stunned but we did forgive him. He has done so very much for our quality of life in our neighborhoods. An exceptional human
being. We have hope for him and believe in him.


With Sympathy,


Yolanda Nogueira
President
Highland Park Chamber of Commerce
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                            EXHIBIT 1-21
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                                 Trisha Gossett
                                       1842 Phillips Way
                                   Los Angeles-CA-90042
                                       ph-323)791-6798
                                  trisha.gossett@gmail.com


   December 20, 2023

   Hon Judge John F. Walter



   Dear Judge Walter

   My name is Trish Gossett, a 23 year constituent in CD 14, district of former CM Jose
   Huizar.

   I am writing today in hopes that you will consider the good works Mr Huizar did for us
   in our community during his time in oﬃce. I am asking for your mercy and grace when
   sentencing him based on all of the great things he did for us and the character he
   displayed.

   I have been active in this community since I met other activists in Highland Park. For
   several years I was a member of the Highland Park Neighborhood Council, as well as
   the Land Use Committee, so we worked closely with Mr Huizar and his staﬀ to achieve
   changes in safety, protect building codes, and add much needed programs and
   aesthetics to the community. His Land Use knowledge was valuable.

   Jose always found resources to make our community better. As a result of his eﬀorts,
   working with us we became safer. Gang shootings, graﬃti, and crimes associated with
   gangs were our biggest issue. We are safer now than we ever were thanks to Mr.
   Huizar’s guidance and direction.

   Here are a couple of things I was involved in that he helped us accomplish :

   Jose provided every resource possible to help us keep the 710 freeway/ tunnel from
   devastating our community. He had the backs of the people and not the special
   interests involved in this 65 year old ﬁght against the freeway. He earned the respect of
   the No 710 Action Committee for his support.
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   He provided funding needed to implement a Historic Protected Overlay Zone in our
   historic district, which the community will always be thankful for.

   After decades of dereliction and toxicity, Jose masterfully turned a vacant lot which
   required endless remediation and funding into a very popular and beautiful
   playground in the center of our community. No easy feat. He did this because he was
   sensitive to the needs in the community.

   For me personally, he then orchestrated the funding for a beautiful mural on an ugly
   building overlooking our beautiful playground.

   Jose implemented bike lanes, and much needed safety measures.

   He supported our Seniors, via our Senior Center, with funding for new programs. He
   also supported Veterans, via his participation and contributions to Veteran events. He
   was liked for his attention paid to them on a personal level.

   He earned the respect of the community through the many positive changes he helped
   us with, and so was easily re-elected until his term was over due to term limits.

   I got to know Jose, his wife Richele, as well as their kids, when they would come to
   various events and celebrations Jose helped us with. We met for coﬀee once in awhile.
   He and Richele were so well liked by many of us that when his youngest daughter was
   stricken with leukemia, and then cured, we all celebrated the victory. That’s our
   community of Highland Park. The Huizars are a genuine nice family and welcoming to
   all. They were with us and they felt like one of us. That was the feeling I had.

   It’s disheartening that someone I personally knew and liked so much, and did so much
   for us, can fall from grace. Frankly, I am shocked and dismayed. However, for some
   that is part of their human condition, I suppose. I have compassion for him because I
   have never known him to be dishonest regarding anything I was a part of.

   After many personal, social, and community interactions with Jose, I honestly feel he
   does not view himself as a victim. He has always shown integrity when being our
   representative.

   In any case, justice must prevail.

   In Jose Huizar’s case, I hope you will consider my personal plea for a lighter sentence
   based on my experience with his character, as well as that of many others in Highland
   Park who know and have worked with him.

   Thank you very much
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   Sincerely, Trisha Gossett- CD14 Resident.
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                            EXHIBIT 1-22
  Case 2:20-cr-00326-JFW Document 1228-1 Filed 12/28/23 Page 65 of 145 Page ID
                                    #:27901




       Dear Honorable judge Hon John F, Walter, I am writhing this letter to you Honorable judge
about my Knowledge of Jose Huizar.
       When he was our councilmen of our District 14, I'm Ofelia R Pastor I live in our district for 35
years, I'm the leader of our community of San Pascual Ave, neighborhood Watch for 10 years. Jose
Huizar during his term as our councilman he did a lot for our Community to improve to have a better
and save place to live. He is very kind to our elderly, young and children, he was the first councilman
that start in our community the celebrations every year with the Christmas three lighting giving at the
senior center, a toys distribution for the kids of low income parents. I was a voluntary and he make a lot
of kids happy for residing their toys, he was with his family for the whole events and talk with all the
people for the community and the children parents.
       When I ask that we need It our park San Pascual park to remodel the playground and he did, he
was the only one who listen to me, being an act of kindness, he is a person who listens the community
and he never was selfish and actually accepts to have feedback to the request of the park remodeling.
Something that other councilmen promised but they never did.
       Also I request in 2019 to put humps in our street San Pascual people were driving like crazy, I
meet with his deputy and engineering and they act immediately. He never stops doing his job as a
councilman until the end of his term. On September 29-2019, he tribute to the braceros and he give a
speech that touche the heart of every one and honor the braceros in honor he puts a statue, representing
the importance of the people how works on the fields.
The event he had every year Dawntown, Los Angeles, the night on Broadway, that was amazing I went
with friends & family they were amazing and well organized, he always celebrate our Mexican
Independence day. He sits face to face with our community and he listened to us, he was the only one
that help and invest to the community. Overall Jose Huizar our councilmen always took the time to be
with us in the community and events, he was always nice, respectful, hard-worker and never judge
others he is a good men.


Thank you for your time and attention, Hon John F, Walter.
Atte: Ofelia R Pastor.
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                                        #:27902

Natalie Degrati

From:             Zeiid 7 <carol00944@gmail.com>
Sent:             Thursday, December 21, 2023 7:52 PM
To:               Charles Snyder
Subject:          From Ofelia R Pastor for the trial of Jose Huizar. Videos of Jose Huizar, in the events that he makes.
Attachments:      Letter-OfeliaRPastor.pdf; WhatsApp Video 2023-12-21 at 12.18.37_62e071fc.mp4



EXTERNAL SENDER




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                                 BETSY K. STARMAN
                            4265 Marina City Drive, Unit 903
                              Marina del Rey, CA. 90292
                                    818.326.7793

                                   December 22, 2023


Hon. John F. Walter
c/o Charles Snyder@fd.org and
321 East 2nd Street
Los Angeles, CA. 90012-4202

Re: Letter in support of Jose Huizar

Dear Judge Walter:

Please allow this letter to serve in support of Jose Huizar, former City Council member
for the City of Los Angeles.

My former job was as compliance coordinator to implement licensing and accreditation
services for drug and alcohol treatment facilities – mostly in Malibu. I retired 13 years
ago and moved to downtown Los Angeles to be closer to skid row and be able to
volunteer for those much less fortunate than the Malibu clients. I sold my home in DTLA
and purchased a loft on 5th and Broadway.

During my 10 years downtown, I was lucky enough to get to meet our City Council
member of that time, Jose Huizar. He was personable and professional and was able to
actively listen to concerns about mental health reform, the lack of treatment for the
addicted and unhoused, and he supported my view on our current process which is
governed by the Lanterman Act. He heard me.

I engaged in his campaign and during that time I witnessed the growth and hope for a
city that had basically been boarded up and forgotten. In the years I worked with Mr.
Huizar, I watched the City of Los Angeles turn around completely. It was an amazing
time. We had community, we had local and district meetings, we were together in
making DTLA a great place to work and live. Mr. Huizar was able to create the
motivation we needed to have hope for our city.

All of this does not negate what this court case is about, but to say that the good that
Mr. Huizar brought to the table far outweighed to the bad. When he was moved out of
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Hon. John F. Walter                      Page Two                    December 22, 2023



his position, things turned around for all of us. After a couple of years of him being
removed, the progress stopped. Completely stopped. He was gone. He had brought
so much to the businesses and residents of DTLA and it just stopped. He had worked
WITH us. He treated all people with unconditional high regard and was a great example
of what a representative could be.

I understand that it is now time for Mr. Huizar to be sentenced. I ask you to please take
into consideration the good, the community, his ability to be fair to ALL of us and his
dedication to all of us when you pronounce his sentence.

Thank you for your consideration.

Sincerely,



Betsy K. Starman
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 From:               Charles Snyder
 To:                 Natalie Degrati; Adam Olin; Greg Krikorian
 Subject:            FW: Support letter for Jose Huizar
 Date:               Friday, December 15, 2023 1:57:52 PM




 -----Original Message-----
 From: Masamichi Kiyomiya <kmasa00413@gmail.com>
 Sent: Friday, December 15, 2023 1:53 PM
 To: Charles Snyder <Charles_Snyder@fd.org>
 Subject: Support letter for Jose Huizar

 EXTERNAL SENDER

 when Jose was only 12 or 13 years old when I saw him first time. He was just a street boy with his skate board and
 white shoes with a few holes which you can find anywhere in down town LA. Soon he started working for
 delivering news papers down town Little Tokyo where I had my own business. He was a tiny skinny boy carrying
 big bag with full of news papers and the bag was almost touching ground.
 After a little over a year we were able to to exchange a little conversations and soon he became interested in
 working for our shop. I was renting video movies. He needed the job to earn his tuitions for his new private school.
 At the age 14 he successfully separated himself from gangsters at school and went on private school.
 His parents were from Mexico and having hard time raising four brothers and two sisters.
 Jose worked after school every day and weekend for a little over 4 years. I allowed him to study at shop any time
 when we did not have any customers. We talked about many thing that happened at school including his scores of
 tests and soon we set up a rule between us. He get a dollar when he get A on test and A on report card for more
 money. Toward the end of his high school year, it may be less than a year, we started to exchange opinions about his
 future career and what to study at university. He wanted to major business but I want him to go for politics.
 Sometime we escalated to argue each other over this issue but eventually he understood politic is much bigger world
 and complicated. Especially he seemed to like the idea that politics can change communities for better place and
 lives. He start having many imaginations what he could do. Such as making East L.A to East Beverly Hills was big
 topics within us. And surely it gave him his motivation to study politics at university.
 Our 4 years close relationship came to end as he finished high school and he left for San Francisco. He was accepted
 UC Barkley with a full scholarship student. And went on Prinston University. He even went to Ford Fundation for
 one year before come back to LA where he studied at UCLA Law school. And the day he passed the exam and
 became a lawyer I felt my job was completed. I was so lucky to witness that little news paper delivery boy finally
 reached to his goal.
 I took him a trip to Japan as he became LA school board members. And again another trip to Japan when he became
 a LA council member.
 It was same kind of present he deserved to receive when he showed me A on his report card. But this time I
 confirmed he still have same eagerness and desire to work for communities and city of LA. as a Mayer!
 I believe he had been working for a council member with ideas, dreams, and clear vision for changing communities.
   One day I happened be at Broadway area and surprised.
 Every where around Central Market were people and it has become tourist spot. And there were several big name
 stores were there. One day when Jose came to our store I asked him how it happened who made it happened. He said
 he talked to many business people and explain his down town vision. Some agreed and some do not but keep on
 talking !! After all politician is talking people. Talking is my business. Masa !!
 Yes, of course he was aiming for Mayer ‘s poison and then incident had happened ! Jose was arrested.
 He came to see me whenever he likes to talk but we did not talk about details of the incident but mainly talked about
 kids and families and old days. He seems enjoying helping family affairs now days but I know he has not give up
 his life yet. Jose is looking for any chance to return and work for communities I think he will have a chance in future
 as long as he never give up. A lot of things might happen in future and people may start looking for a men like him
 with ideas , dreams and vision. He may be called. It is all up to him !
 In order for him to stand up one more time please give him a chance to share his ideas,dreams and vision with
 younger generation in his community. He dit accomplished so so may things along the way with his career which
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 should be shared with youngsters for motivating them to grow in their community. This is one thing he must do and
 he can do for his community now !
 Yes, He did some thing wrong and must pay for his behavior. But I believe there must be many different ways to
 pay for it. Not only one way to punish him.
 Please consider to give him second chance to challenge his idea, dream and vision for his community. One day
 Byole Heigh will be East Beverly Hills !


 Mr. Masamichi Kiyomiya
 Owner of Family Mart
 335 E. 1 st Street L.A. 90012
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December 20, 2023
To: Honorable Judge John F. Walter

                                                  Jose Huizar

The purpose of this letter is to provide a character reference for Mr. Jose Huizar, whom I have known as a
close and best friend for more than 40 years. My wife and children also consider Mr. Jose Huizar as a very
close friend and trusted family member.

I first met Jose during our freshman year at Salesian High School in Boyle Heights, California where we were
assigned to many of the same honor and college preparatory classes. Our friendship started with a friendly
rivalry to be the top student on the Principal’s Honor Roll for each semester. We both knew that we could
never be #1 because we knew a student that would consistently receive straight A’s throughout the
semester. Despite this, Jose and I continued to compete for the #2 ranking in the Honor Roll. Every semester,
we would challenge ourselves to excel in our classes and ensure we prepared ourselves for college. Our
friendship grew as we relied on each other to get the best grades possible in each class. Since my strengths
were in Math & Science and Jose’s strengths were in English, History & Government, we would tutor each
other in our respective fields to ensure we would succeed together. Throughout our 4 years at Salesian, we
continued to take the #2 and #3 spots in the Honor Roll, in which we would toggle between the two spots.
The result of our determination and perseverance for excellence led to us both becoming co-Salutatorians
for graduation as well as ending up tied for the #2 spot in the Honor Roll. Our hard work paid off with Jose
being accepted to UC Berkeley while I was accepted to Cal Poly Pomona. We were both proud of each other
for our shared dedication to academics while knowing that we were role models for our classmates, friends,
and families.

Allow me to put our 4 years of high school into further context, Jose and I both came from families that could
not afford the tuition to attend a parochial school. However, we knew that attending Salesian High School
was our best opportunity to ensure we were accepted to esteemed universities in order to pursue our career
dreams. During our freshman year, I learned that Jose was working at a video store in Little Tokyo in order to
pay for his own tuition. In the beginning of our sophomore year, my father was laid off and left unemployed.
Jose helped me to get a job at the video store which allowed me to continue to attend Salesian. Our
schedules resulted in Jose and I working after school and alternating weekends where we would average 20
hours a week throughout the school year. We were fortunate that the video store owner allowed us to do
our homework while working. This taught us an invaluable skill that we have used throughout every aspect of
our lives from that point on; in order to succeed, you must learn to multi-task education, develop work ethic,
and give back to your community.

One of our bonds that brought us closer together was a fondness for sports. I loved playing football while
Jose loved playing baseball. In order to participate in high school sports, we agreed to help each other during
our respective seasons. During football season, Jose would work my week day shifts to allow me to attend
football practice and then work on the weekends. When it was baseball season, we would swap schedules in
order to allow Jose to attend baseball practice. This allowed both of us to experience high school sports and
fulfill our dreams of playing at Salesian.

Participating in varsity sports allowed us to join the Salesian Letterman Society (SLS), a highly respected and
recognized club at Salesian that would only allow varsity athletes to join. We had the privilege and honor to
represent Salesian in community and church events, where Jose and I learned leadership, empowerment,
and communication skills. We both took on leadership roles in SLS as ambassadors of Salesian, where we
took our roles very seriously as each SLS member entrusted us to lead and represent them, an honor to

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 From:             Charles Snyder
 To:               Natalie Degrati; Adam Olin; Greg Krikorian
 Subject:          FW: Jose Huizar
 Date:             Saturday, December 16, 2023 2:13:32 PM




 Charles J. Snyder
 Deputy Federal Public Defender
 321 E. 2nd St. I Los Angeles, CA 90012
 213.894.4407


 From: al boogie <algernol@gmail.com>
 Sent: Saturday, December 16, 2023 1:27 PM
 To: Charles Snyder <Charles_Snyder@fd.org>
 Subject: Jose Huizar

 EXTERNAL SENDER
 Algernol Boozer
 566 Pershing Dr
 San Leandro Ca. 94577
 algernol@gmail.com
 510 393-3155
 12/16/2023

 Hon. John F. Walter
 [Judge's Full Name]
 United States District Court
 Central District of California
 [Address of the Court]

 Re: Character Letter for Mr. Jose Huizar

 Dear Judge Walter,

 1am writing to express my sincere support and provide character insight into the life of Mr. Jose
 Huizar. My name is Algernol Boozer, and I have known Mr. Huizar since our time together at Bishop
 Mora Salesian High School and later at UC Berkeley. Our bond as fraternity brothers and roommates
 during college allowed me to witness Mr. Huizar's personal and academic growth, providing a unique
 perspective on his character.

 From the early days of our friendship, Mr. Huizar and I engaged in numerous discussions about our
 shared desire to be agents of positive change in our community. I distinctly remember our late-night
 conversations, fueled by our mutual passion for making a difference. Mr. Huizar consistently
 expressed a strong commitment to service and community betterment.
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Honorable John F. Walter
Central District of California
321 East 2nd Street
Los Angeles, CA 90012

Honorable Judge Walter

My name is Adam L Acosta, I am a resident in the City of Los Angeles and I formerly worked as
the Deputy Policy Advisor to LA Councilman Jose Huizar between 2018- 2020. Prior to my
employment with Mr. Huizar, I was the political director for the American Federation of State,
County Municipal Employees, AFL-CIO (AFSCME) union representing public employees
throughout the state of California including employees within the city of Los Angeles.

My relationship with Mr Huizar goes back almost 20 years from his earliest election as a school
board memebr to the LA Unified School Board through his election to the Los Angeles City
Council in 2005.

While there is so much to be said about Mr Huizar political career and political fortitude, I can
only say that his ongoing commitment to his community, working families and the underserved
areas of his council district was without question a commitment to make things better for them!

Mr. Huizar was committed to have safer neighborhoods, enhance local small businesses and try
to address the beginnings of a homeless crisis that started in the mid years of 2010. While on
the city council Mr.Huizar initiated and created the first policy committee on Homelessness and
Poverty to tackle this crisis above the Mayor of Los Angeles and other local elected officials that
failed to address this issue. This action was cutting edge because no political individual wanted
to address this crisis but Mr. Huizar did!

After 25 years of a career for AFSCME, I was abruptly terminated in 2018. One day in August, I
was visiting with Mr. Huizar as we often spoke about politics, the neighborhood and his kids.
During our visit, I shared that I was terminated abruptly from AFSCME. Within moments of I
sharing my news he stopped the conversation and said “what are you doing for yourself”? “Do
you have a paycheck, do you have health care benefits”? I said, “ I have nothing, Jose!".

The next day, I got a call from his chief of staff and I was offered a job working within the
councilman staff. I didn't ask for a job, rather Mr. Huizar and I were having a normal
conversation like we did so many times before that day in August of 2018.

Mr. Huizar getsure to offer me a job was so significant that allowed me to continue to move
forward and not fall into depression and desperation because in the past several years prior to
2018, I lost my marriage in 2014 and 2016 my mother passed away and in 2018 I lost my career
at AFSCME. AFSCME was the glue that allowed me to survive and overcome so many
disappointments within those 4 years.
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Mr. Huizar is a person of generosity, compassion and friendship. I think Mr. Huizar's biggest fault
is his willingness to always please others!

During the 2020 COVID 19 crisis in the city of Los Angeles, Mr. Huizar's priority was his
constituents' well being and making sure they had PPE’s and the medical resources to make
sure that the elderly did not come in contact with the deadly COVID 19 virus. He authorized the
necessary resources to purchase a significant amount of PPE during the city’s shut down and
distribute thousands of food boxes to the elderly and families in his council district.

I'll confess that I do not know all of the particular elements of his criminal case, however, I do
know first hand that over the last couple of years he has personally shared many regrets and
has acknowledged that he was selfish, reckless and took things for granted many times.

I suspect Mr. Huizar's biggest fear will be his distance from his four children and not being
physically close to them and not being involved in their daily lives. While all four children have
dealt with their fathers failures and indiscretions, I know they still love their father very much and
don't want their father to be away for very long.




These very private conversations weigh heavily in Mr. Huizar's mind, body, heart and I know he
is immensely sorry for his selfish and reckless behavior.

In speaking with Mr. Huizar frequently, I sometimes wonder what he is asking of my friendship
over these last couple of years? In the latino community family is very important and the
understanding of not having a parent growing up is significant loss and I believe Mr. Huizar fully
understands this personally because he was raised without the presence of his father.

I hope the court will review Mr. Huizar's entire life which takes into account his humble
beginnings, his academic achievements and his strong stewardship in economically developing
his council district to what it is today.

Mr. Huizar is good person with a big heart that cares deeply for his family and children, he
understand that he must be held accountable for his failures and poor decisions that will lead to
a jail sentence that will allow for Mr. Huizar to recognize his selfish decisions he made as a Los
Angeles City Council member and the betrayal of those community members that elected him to
the 14th Council District!

Upon his reentry to society I will be there to continue my friendship and guide Mr. Huizar to
foster his relationship with his children and family, assist him to be a full participant in his
community and regain the trust of those individuals that he betrayed.
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I respectfully ask the court to keep in mind his young children, his spouse and elderly mother
and family when considering Mr. Huizar sentencing.

Sincerely,

Adam L. Acosta
222 N. Avenue 66
Los Angeles, CA 90042
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                                                                                                   James W. Kee

                                                                          15215 Calaveras Dr Austin, TX 78717
                                                                                         Phone: 818-669-3180



  Hon. John F. Walter

Dear Judge Walter,

I’ve known Jose Huizar for 20 years. He’s a “true believer,” by which I mean that he really wants to make a
difference, he’s idealistic, and he thinks that his mission is the improve his community using the gifts God has given
him. He’s a mild-mannered man whose bias is to trust other people. No doubt he made some mistakes, but I
believe that he always had the best intentions, because that’s all he ever talks about.

When I first met him, he was on the LA School Board, and he was deeply concerned with improving education for
the children of Los Angeles. As he prepared to run for City Council, Jose was sure to mentor a successor whom
he was certain was as capable and as passionate about education in Los Angeles as he was. It wasn’t enough for
Jose to do the job. He wanted good people to continue the work.

Over the years, I’ve watched Boyle Heights change for the better as Jose’s projects have been realized. Parks were
revitalized, community events brought people together, Arts districts blossomed and restaurants sprang up. The
Gold Line started operating, bridges were built, and slowly life improved for the residents. Being a politician is
really two jobs, in my opinion: the campaigning and the functions of the office. They are often overlapping, because
the networking that helps win elections also helps bring together projects for revitalizing theater districts. I don’t
know how he did it, and I didn’t see the thousands of steps that he took along the way, but I occasionally got a
glimpse.

I recall one weeknight years ago when I went to an event on Olvera Street, and Jose was at the head table. He was
constantly greeting people, making introductions and listening to constituents while various dignitaries came and
went. For me, it was a dinner. For him, it was work. When it was over, I went home to watch a hockey game, and
there, between periods, was Jose Huizar in the booth with Bob and Jim talking about hockey in L.A. I was
dumbstruck. Jose was on stage throughout dinner and probably didn’t even eat, and then he went to at least one
more event and had to be on stage again long after I was home and comfortable. It was a sobering realization of
the difficulty of doing the job of Councilmember.

On top of all that, he had a daughter at home who was suffering with a life-threatening kidney disease. He would
later have a daughter diagnosed with leukemia at the age of 3. Through the miracles of modern medicine, both
survived, thank God. Jose carried immense burdens, did a tremendous amount of good for a very large community,
and made some mistakes along the way. We will all bring pluses and minuses to Judgement Day. His sins I can’t
judge, but his contributions will do great credit to him.

I know that Jose is still driven to help his family, his community and the City of Los Angeles. I believe that the
world would be a better place if he was able to pay his debts by working on behalf of the public instead of spending
time in custody.
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Sincerely,




James W. Kee
Chief Administrative Officer, Automated Mortgage Systems, Inc.
December 15, 2023




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Natalie Degrati

From:                 vince <vcotter643@aol.com>
Sent:                 Thursday, November 30, 2023 10:01 AM
To:                   Charles Snyder
Subject:              letter of support for Jose Huizar

Follow Up Flag:       Follow up
Flag Status:          Completed



EXTERNAL SENDER
Hon. John F. Walter

Your Honor,

My name is Father Vince Cotter and I have known Jose Huizar since 1983 when I was his religion teacher at Bishop Mora
Salesian High School in East Los Angeles in his sophomore year. In class, Jose was a wonderful student, always eager
to learn and to do his best. Outside of the classroom, Jose always showed leadership amongst his classmates and was
kind, considerate and thoughtful.

He was chosen to go on a Kairos Leadership Retreat weekend because of his leadership qualities and good moral
character. He represented our school well and we were always proud of him. He came from a wonderful family and they
were solid Catholic Christians, active in their faith and expressive of their strong social justice concerns.

In talking with Jose recently, I am convinced that he has been truly humbled by the consequences of all his actions
regarding his conviction and he is truly concerned about his children and their education and formation. In fact, his eldest
child is now going to St. John Bosco High School in Bellflower, CA, another school I also taught at in 1976.

If you have any questions or concerns, please contact me at VCotter643@aol.com

Thank you in advance for whatever you can do on Jose Huizar's behalf.

Sincerely,

Father Vince Cotter




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Subject: Le+er of Support for Jose Huizar

Dear Judge Walter,

I hope this le+er ﬁnds you well. I am wriDng to express my unwavering support for my uncle, Jose Huizar,
whose character and dedicaDon to our community have leG an indelible mark on my life and the lives of many
others.

Jose Huizar is not just a public ﬁgure; he is a family member who has played a pivotal role in my upbringing
and personal development. In a family where educaDonal opportuniDes were limited, Jose stood out as one
of the few who pursued higher educaDon. When my mother, his cousin, faced the challenges of single
parenthood, Jose generously took me under his wing, providing me with life-changing opportuniDes.

His support extended beyond mere words; he clothed me, fed me, and served as a father ﬁgure during a
crucial Dme in my life. Jose's encouragement and guidance were instrumental in helping me navigate through
college, culminaDng in my current status as a senior at UCLA. I can conﬁdently say that without his support, I
would not have reached this point in my academic journey.

Jose's commitment to community empowerment is evident in his Dreless eﬀorts to upliG Mexican
descendants in the U.S. Despite the misinformaDon circulaDng in the media, he has been a bridge for many to
prosper. His dedicaDon goes beyond mere rhetoric; it translates into tangible support and opportuniDes for
individuals like myself.

I urge you to consider the posiDve impact Jose Huizar has had on our community when assessing his situaDon.
Losing him would mean losing a valuable resource, a mentor, and a role model. Recently, he encouraged me
to pursue law school, recognizing the importance of representaDon and the unique challenges faced by ﬁrst-
generaDon college students. His guidance in uncharted territories is irreplaceable and invaluable.

I am heartbroken at the thought that Jose may not witness my graduaDon this spring, but I carry with me the
lessons and experiences he provided, shaping my understanding of what life should be. The allegaDons
against him seem out of character, considering his unwavering commitment to community welfare.

In these challenging Dmes, where our community strives for representaDon at the table rather than being
scapegoats in an endless cycle of oppression, Jose Huizar stands as a beacon of hope and advocacy. I implore
you to consider the broader impact of his absence on both his immediate and extended family, where he
remains one of the only educated and well-resourced individuals ready to oﬀer support in any ma+er.

Thank you for taking the Dme to consider my perspecDve. I believe in Jose Huizar's commitment to
community be+erment, and I hope that jusDce is served with a fair and comprehensive understanding of his
contribuDons.

Sincerely,
Maura Morales
UCLA Class of 2024
Public Affairs Major & Education Minor
Hermanas Unidas de UCLA
Co-Chair 2023-2024
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                                         #:27967
Natalie Degrati

From:                 EVELIA HUIZAR <evie4me@sbcglobal.net>
Sent:                 Friday, December 22, 2023 12:26 AM
To:                   Charles Snyder
Subject:              Jose Huizar


EXTERNAL SENDER

Judge Walter,

Your honor, our names are Evelia Huizar and Elpidio Huizar, Jose Huizar is our cousin.

I Evelia have known Jose Huizar for over 40 years, and I Elpidio, José has been in my life since his birth.
Jose Huizar, as the person we know and ll this day are proud of the beau ful person he is. from his humble beginnings
to the successful man he became. He was a child with a great vision and worked hard at making his dreams a reality. He
was a great student, focused and determined always studying making sure to make his grades.
He was a good son as a child and more as an adult a er loosing his father at a young age, his responsibili es were now
greater.
He con nued with his schooling but also took part in the responsibility for the well‐being of his mother and younger
brother. Jose is an and has always been a caring person making life be er for the less fortunate. As a young adult making
his dream a reality through hard work and dedica on he gradua ng from college then got married followed by the birth
of his children an becoming a devoted loving father.
Your honor the mistakes Jose made later in life are definitely out of character, we as his extended family know that he
has so much more to oﬀer from being present in his children’s life to con nue his charity work for the less fortunate. We
asked that you take this in considera on for Jose future and give him an opportunity to demonstrate this in society.
He is very remorseful and ashamed for all the wrong doings but unfortunately they happen and he has to face the
consequences, all we ask your honor is to please keep his family his children in mind when doing your final decision on
Jose future. We would love to have him home as soon as possible to con nue being the great person he was and can
con nue to be and more than anything be home and present with his young children.
Thank you for your me in reading our le er.
Sincerely,
Evelia and Elpidio Huizar

Sent from my iPhone




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                            EXHIBIT 1-46
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December 20, 2023

Dear Honorable John F. Walter,

My name is Jose Manuel Larez. I am the brother-in-law of Jose Huizar. I've known him for 20
years. Since I've known him, he has dedicated himself to working hard and taking care of his
family, always a very dedicated person with a humble heart.

I remember the days during Christmas time and Thanksgiving during which we gathered at his
home, to spend a happy time with family, and he offered us what he could, especially the
opportunity to see the family gathered, relaxed and shared stories. Jose and Richelle’s home was
always warm and welcoming. He went out of his way to make sure his family had everything
they needed. I saw the closeness of his brothers and sisters, how much they get along and I can
feel the love for all the children as well.

Also, my sister-in-law Richelle, a good person, told us with great pleasure how much she loves to
cook for others. She cooked for us and as long as we the family were happy made her happy.
Richelle decorated her house to look fantastic so that Jose’s family can enjoy. Richelle has a
close relationship with her mother-in-law, always looking out for her. Richelle made sure Jose’s
Mom, was comfortable and well fed. The family is very close and share all the holidays, family
gatherings with extended family like aunts, uncles and cousins. The Huizar family is genuine,
humble, giving and kind family, they give to others what they can, and are generous. I am
honored to be part of this family and share our lives together.

I was very happy when Jose went above and beyond to help the community, making him happy
to help people. I felt very proud to see that he was someone in the government who was so
important, coming from a poor and humble family.

I looked and wondered how he did it. To be at so many events and meetings - it was too much -
and yet he was always pleasant, never angry. He always visited the saints to whom he devoted
himself, going to Zacatecas to the Santo Nino and Saint Judas Tadeo, and when he visited them,
he felt their support and blessings. He has a very great faith because of his personal growth.

It caused me surprise and anger when he was accused. He doesn't deserve what they are doing
to him, the punishment they want to give him is too severe for a humble, kind man. God knows
him and sees him.

Please ask that you look at all the good he did and continues to do.

Sincerely, Jose Manuel Larez
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Dear Judge Walter,                                                  December 13, 2023


        I am Rosa Minero. I have known Mr. Jose Huizar since 2010, during which time I cared
for his children and cleaned house.
       Jose and Richelle are good people, dedicated to their home and their children. Mr.
Huizar always is very caring regarding his four children, especially the youngest,

                                                                                     Huizar take
him to school, took him on walks, and picked him up from school.
       I personally, witnessed Mr. Huizar doing this while I worked for them for 10 years, only
leaving because of the pandemic.


       For 10 years I observed Mr. Huizar at events and saw how many people appreciated and
loved Jose. And, I continue to come to clean their home from time to time, since Jose and
Richelle make me feel like a member of the family.
       I am very sad, and never imagined that this would happen to Mr. Huizar and his family,
it makes me cry. The public has always been with him, it is strange that this would happen to
him when he was ready to leave his job as city council. I don’t understand why people would
want to hurt Mr. Huizar and especially his children. I feel terrible for his kids and worry about
them, as they need their fathers help.


Sincerely,
Rosa Minero
December 15, 2023
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                                  #:27975
 F om            Jose Hui a
 To               h l
 Cc              Na al e Deg ati G eg K ko an
 Subject          ette f om fam ly f iend
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                                                                                              December 14, 2023



          Dear Honorary John F. Walter,



          My name is Norma Montero, I am Jose Huizar’s cousin. His mom and my mother where sister (my mom
          passed). We all grew up closed together even now my aunt is like a mother to me as she is also my
          godmother. I see how he watches over her, takes her to her doctor’s appointments. Jose is the joy and
          pride of the family as he was the first to go to a University and always encouraged the young high
          schoolers to continue their education as he did. He worked hard even as a young man I remember him
          having a paper route. He was very dedicated to his education, as I remember when we had family
          reunions he was always in his room studying. He is very kind and loves his family very much including
          me. He has a big heart as I remember when my brother died in 2018, at my brother’s funeral the priest
          recognized him as the councilman and asked him to say a few words. Jose, at this time was not shy to
          speak in public as he was good at it due to his position. I remember as he talked about my brother his
          voice cracked and he teared up I knew he was hurting as I was. That’s how big hearted person he is. I
          love my cousin and I will always be Team Huizar.




          Thank you for you time.

          Norma Montero




[ADVENTISTHEALTH:INTERNAL]
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